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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                    )
ENERGY INTELLIGENCE GROUP, INC. and )
ENERGY INTELLIGENCE GROUP (UK)      )                Civil Action No. 4:18-cv-02241
LIMITED,                            )
                                    )                Judge Vanessa D. Gilmore
          Plaintiffs,               )
                                    )                CORPORATE DISCLOSURE
     v.                             )                STATEMENT AND CERTIFICATE OF
                                    )                INTERESTED PARTIES FOR
LAZARD FRÈRES & CO. LLC             )                DEFENDANT LAZARD FRÈRES & CO.
                                    )                LLC
          Defendant.                )



          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and this Court’s Order for

Conference and Disclosure of Interested Parties entered on July 2, 2018, Defendant Lazard

Frères & Co. LLC, by and through its undersigned counsel, hereby submits the following Rule

7.1 Corporate Disclosure Statement and Certificate of Interested Parties:

          I.    Corporate Disclosure Statement

         Defendant Lazard Frères & Co. LLC is a wholly-owned subsidiary of Lazard Group

LLC, which is ultimately owned by Lazard Ltd, a publicly traded company.

          II.   Certificate of Interested Parties

   1.    Plaintiff Energy Intelligence Group, Inc.

   2. Plaintiff Energy Intelligence Group (UK) Limited

   3. Defendant Lazard Frères & Co. LLC
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Dated: August 30, 2018


                                          s/ Michael S. Elkin
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                               CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to electronic
service are being served with a copy of this document via the Court’s CM/ECF system per Local
Rule 5.1 on August 30, 2018.


                                                         s/ Michael S. Elkin
                                                             Michael S. Elkin




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